                                    EXHIBIT B




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                    Case 1:20-cv-03480-JPO Document 26-2 Filed 07/27/20 Page 2 of 2




From:                                     Mark Tress <mark@cedarholdings.net>
Sent:                                     Thursday, April 16, 2020 9:14 PM
To:                                       Lori Albert
Cc:                                       bfrankel@bzfpc.com; Rui Barros; Bobby Condon; Prystowsky, Kathleen (Assoc-NY);
                                          Justin Miller; Bernstein, Joshua (Ptnr-NY); morty@alstrealty.com; Jaryd Lindheim; Kevin
                                          Nash
Subject:                                  Re: Notice of Termination for Lease Agreement - 251 Dekalb Avenue, Brooklyn, New
                                          York


This is wholly rejected for fraudulent cancellation. Adding my atty


      Mark Tress
   732 370 4030
mark@cedarholdings.net
Cedar Holdings, LLC



        On Apr 15, 2020, at 1:28 PM, Lori Albert <lori.albert@quarters.com> wrote:


         Attached please find the formal Notice of Termination on behalf of Medici 251 Dekalb LLC with regards
        to the Lease Agreement by and between JM HOLDINGS 1, LLC, ROTH INNOVATIONS LLC, and LPC
        PROPERTIES LLC, and MEDICI 251 DEKALB LLC, for the premises located at 251 Dekalb Avenue, Brooklyn,
        New York dated July 6, 2019.

        Please take notice that the Lease is hereby terminated effective immediately.



        LORI ALBERT
        Senior Legal Counsel US

        Lori.Albert@quarters.com

        +01 (303) 619-6251



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        <Notice of Termination - Medici 251 Dekalb LLC sent 4.15.20.pdf>




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